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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF SOUTH CAROLINA
                                   COLUMBIA DIVISION

Afraaz R. Irani, M.D.,                           )
                                                 )       C.A. No. 3:14-cv-3577-CMC-KDW
                       Plaintiff,                )
                                                 )
        v.                                       )
                                                 )               AFFIDAVIT OF
Palmetto Health; University of South Carolina )                KATHRYN THOMAS
School of Medicine; David E. Koon, Jr., M.D., in )               [December 2015]
his individual capacity; and John J. Walsh, IV, )
M.D., in his individual capacity,                )
                                                 )
                       Defendants.               )
                                                 )

        Kathryn Thomas, whose signature appears below, testifies under oath as follows:

        1.      I am counsel of record in this case. I have personal knowledge and am competent

to testify as to the matters stated in this affidavit. I am a custodian of records maintained by my

law firm in the course of this litigation.

        2.      Attached hereto as Exhibit G is a document provided to me by the Medical Board

of California that constitutes Dr. Afraaz Irani’s authorization for Defendants and others to

release information and documents to that Board.

        3.      Attached hereto as Exhibits H and I are Resident Agreements of Appointment

produced by Defendant Palmetto Health in the course of this litigation.

        4.      Attached hereto as Exhibit J is an email exchange with which Dr. Koon and I

were involved on June 25 and 26, 2013, when Dr. Irani and his attorney were threatening

litigation against these Defendants. I have redacted portions of the email exchange that are

attorney-client privileged.

        5.      After this lawsuit was filed, my law firm submitted a Freedom of Information Act
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request to the EEOC for a copy of its charge file relating Dr. Afraaz Irani’s charge of

discrimination against Palmetto Health. Attached hereto as Exhibit K are documents we

received in response to that request and that we produced in the course of this litigation.

        6.         Attached hereto as Exhibit L is an Affiliation Agreement for Medical Education,

Research and Other Related Activities that Defendant Palmetto Health produced in the course of

this litigation.

        7.         Attached hereto as Exhibits M, N, O, P, and Q are Program Letters of Agreement

between the Palmetto Health Graduate Medical Education Program(s) and the Participating Sites

at which Palmetto Health’s orthopaedic surgery residents rotated during the time Dr. Irani was a

resident in the program. These documents are not bates-labeled but they were produced by

Defendants in the course of this litigation.

        8.         Attached hereto as Exhibit R are email communications between Dr. Irani, Dr.

John Eady, and their attorney that were produced by Plaintiff in the course of this litigation.

        9.         Attached hereto as Exhibit S are documented communications between the

ACGME and Defendants that were produced by Defendants in the course of this litigation.

        10.        Attached hereto as Exhibit T is a chronological set of documents exchanged by

the parties in the course of this litigation that I believe may be relevant to events and issues to be

addressed by summary judgment motions.

        I testify under penalty of perjury this 14th day of December, 2015, that the foregoing

statements are true and correct.

                                                s/ Kathryn Thomas




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                                          Thomas Affidavit Exhibit G
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                                          Thomas Affidavit Exhibit H
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                                          Thomas Affidavit Exhibit I
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                                          Thomas Affidavit Exhibit K




                                                                     USC(Irani)0435
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                                                                    USC(Irani)0436
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                                                                    USC(Irani)0438
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                                                                    USC(Irani)0439
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                                                                    USC(Irani)0441
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                                                                    USC(Irani)0442
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                                                                    USC(Irani)0443
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                                                                    USC(Irani)0444
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                                                                    USC(Irani)0447
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                                                                    USC(Irani)0458
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                                                                    USC(Irani)0459
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                                                                    USC(Irani)0460
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                                                                    USC(Irani)0461
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                                                                    USC(Irani)0462
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                                                                    USC(Irani)0464
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                                          Thomas Affidavit Exhibit L




                                                       Palmetto Health - 001807
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                                                       Palmetto Health - 001808
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                                                       Palmetto Health - 001810
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                                                       Palmetto Health - 001811
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                                                       Palmetto Health - 001816
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                                                       Palmetto Health - 001817
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                                                       Palmetto Health - 001820
